Case 5:20-mj-0005

“AO 91 Bev: 08/09) Criminal Complain

 

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UNITE

‘United States.of América
, Ve
Thomas Hartley

D STATES DISTRICT COURT

for the oe
Middle District of Pentisylvania

 

Defendant(s) 7 ~

I, the complainant in this case, sta

On or about the date(s) of _ between Aug

caseNo. SRO MY S7 7
) |
‘CRIMINAL COMPLAINT

té s that the following i is true to the best of my / ctiowiedge and belief:

2018 and July 2020. in the county of -Monroe in the

 

Middle District of Pennsylvania, the defendant(s) violated:
. Code Section | Offense Dexerietion .
. 18: USC 641 Theft of Government Money; vis
18 USC 287 ‘Fraudulent Claims Against the: United States;
18 USC 1001(a)(3) False Statements 0 orEntries. —

This criminal complaint is based on these facts:
See attached Affidavit of Probable Cause: -

a ‘Coiitinued onthe attached shee

by ré ha

 

 

"Complainant's signature .

 

SA Jeffrey Kemper, DOL.OIG.
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Sworn: to before me- ati signed j eae aeeeianad of ‘Db SF

Date: Oct . Z, 20 20

City and state:

Wilkes-Barre, P

 

.S. Magistrate Judge _
Privited name and title

ennsylvania__ Joseoh F. Saporito, Jr,

 

 
